     CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 1 of 8




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

John Eger,

      Plaintiff,
v.                                                    MEMORANDUM OPINION
                                                      AND ORDER
                                                      Civil No. 14‐1424
Messerli & Kramer, P.A.,

      Defendant.
________________________________________________________________

      Jonathan L. R. Drewes, Drewes Law, PLLC, Counsel for Plaintiff.

      Derrick N. Weber and Bradley R. Armstrong, Messerli & Kramer, P.A.,
Counsel for Defendant.
________________________________________________________________

      This matter is before the Court on cross motions for summary judgment.

I.    Introduction

      Plaintiff incurred a debt to Discover Bank, and judgment was entered in

favor of Discover Bank in the amount of $3,709.76 on April 15, 2011.  (Comp., Ex.

A.)  Defendant Messerli & Kramer, P.A., is a law firm that was retained by

Discover Bank to collect on Plaintiff’s debt.  (Id. ¶¶ 5‐6.)  A notice of the entry of

judgment was sent to Plaintiff on or about April 15, 2011.  (Id. Ex. B.)  This notice

provided that “Costs and interest will accrue on any money judgment amounts


                                           1
      CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 2 of 8




from the date of entry until the judgment is satisfied.”  (Id.)  Pursuant to

Minnesota law, interest accrued at the rate of four percent per annum.  (Comp. ¶

9; Minn. Stat. § 549.09.) 

       In an effort to obtain satisfaction of the judgment, Defendant served

garnishment summonses upon financial institutions on six occasions.  (Weber

Decl. ¶ 5.)  For each garnishment, Defendant submitted a check in the amount of

$15.00 to each financial institution, as required by Minn. Stat. § 571.76. (Weber

Decl. ¶ 5.)  

       Defendant sent Plaintiff correspondence on or about January 21, 2014

informing him that the current outstanding balance on the judgment was

$4,203.02.  (Comp. ¶ 11, Ex. D.)  Plaintiff contacted the Winona County court

administrator on April 21, 2014 and May 7, 2014.  During those conversations, the

administrator conveyed to the Plaintiff that the judgment balance was $4,157.37

and $4,163.88 respectively.  Plaintiff sent correspondence to Defendant, claiming

that Defendant had improperly added attorneys’ fees to the original judgment. 

(Weber Aff. Ex. 1.)  Defendant asserts it informed Plaintiff that no attorneys’ fees

were added to the judgment balance after judgment was entered, and that the

additional sums were actually comprised of amounts incurred as garnishment


                                          2
       CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 3 of 8




fees.  (Id.)  

II.     Standard

        Summary judgment is appropriate if, viewing all facts in the light most

favorable to the non‐moving party, there is no genuine dispute as to any material

fact, and the moving party is entitled to judgment as a matter of law.  Fed. R. Civ.

P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322‐23 (1986).  The party seeking

summary judgment bears the burden of showing that there is no disputed issue

of material fact.  Celotex, 477 U.S. at 323.  “A dispute is genuine if the evidence is

such that it could cause a reasonable jury to return a verdict for either party; a

fact is material if its resolution affects the outcome of the case.”  Amini v. City of

Minneapolis, 643 F.3d 1068, 1074 (8th Cir. 2011) (citing Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248, 252 (1986)).  The party opposing summary

judgment may not rest upon mere allegations or denials, but must set forth

specific facts showing that there is a genuine issue for trial.  Krenik v. County of

Le Sueur, 47 F.3d 953, 957 (8th Cir.  1995).

III.    Discussion

        At issue is whether Defendant was authorized, under the FDCPA, to

represent that $90 in post‐judgment disbursements was part of the judgment


                                           3
     CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 4 of 8




balance in its January 21, 2014 collection letter to Plaintiff.  

      A.     Violation of Section 1692e(2)(A)

      Under the FDCPA, a debt collector cannot “use any false, deceptive, or

misleading representation or means in connection with the collection of any

debt.”  15 U.S.C. § 1692e.  Specifically, this provision prohibits, inter alia, “the

false representation of the character, amount or legal status of any debt.”  15

U.S.C. § 1692e(2)(A).  “In evaluating whether a debt collection letter is false,

misleading or deceptive, the letter must be viewed through the eyes of the

unsophisticated consumer.”  Duffy v. Landberg, 215 F.3d 871, 873 (8th Cir. 2000).

      Plaintiff concedes that garnishment fees are allowable disbursements by

the creditor pursuant to Minn. Stat. § 571.76.  Plaintiff nonetheless argues that

even though such disbursements are allowed, by including the disbursements

into the outstanding balance of the judgment in the dunning letter, Defendant

violated this provision of the FDCPA.  The Court agrees.

      The Defendant submits a number of arguments in support of its position

that it was allowed to recover additional interest and garnishment fees, but those

arguments miss the point, which is whether a debt collector can include the

disbursements in the outstanding judgment or whether such amounts should be


                                            4
     CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 5 of 8




listed separately.  

      Minnesota law distinguishes between disbursements and costs; costs are

monies charged by the court, while disbursements are monies that parties pay to

sources outside the court, such as payment to a process server.  Minn. Stat. §§ 

549.02, 549.04.  The difference between the two is that the court assesses costs,

because it is the entity that charges them to the party, while disbursements are

incurred by the judgment creditor or its attorney.  

      Defendant argues that it is entitled to add garnishment fees to the amount

of outstanding judgment.  In support, Defendant cites to Minn. Stat. § 549.09,

subd. 3 and 4, which provides:

             Subd. 3. Deductions. If an affidavit is filed pursuant to subdivision
      4, a judgment creditor, or the judgment creditorʹs attorney or agent, is
      entitled to deduct from any payment made upon a judgment, whether the
      payment is made voluntarily by or on behalf of the judgment debtor, or is
      collected by legal process, all disbursements that are made taxable by
      statute or by rule of court, that have been paid or incurred by the judgment
      creditor or the judgment creditorʹs attorney, after the entry of judgment.
      Any remaining portion of the payment must be applied to the interest that
      has accrued upon the unpaid principal balance of the judgment before any
      remaining part is applied to reduce the unpaid principal balance of the
      judgment.

            Subd. 4. Affidavit. A judgment creditor, or the judgment creditorʹs
      attorney, may file an affidavit specifying the nature and amount of taxable
      disbursements paid or incurred by the judgment creditor, or the judgment


                                          5
     CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 6 of 8




      creditorʹs attorney, after the entry of judgment. An execution issued by the
      court administrator must include increased disbursements as are included
      in the affidavit filed with the court administrator.
 
      As these statutory provisions make clear, a judgment creditor or its

attorney may seek reimbursement for taxable disbursements, which include

garnishment fees, but must first file an affidavit specifying the nature and

amount of such disbursements.  Minn. Stat. § 549.09, subd.3.  There is no

evidence in the record that such an affidavit has been filed.  More importantly,

there is no language in either of the above provisions that allows a judgment

creditor or its attorney to automatically include such taxable disbursements when

representing the outstanding judgment amount in a letter to a debtor.  To satisfy

the FDCPA, the judgment creditor must inform the debtor of the outstanding

judgment balance and, in a separate line, inform the debtor that disbursements

have been incurred, including the amount, to which the judgment creditor is

entitled to reimbursement.  See Fields v. Wilber Law Firm, P.C., 383 F.3d 562, 565

(7th Cir. 2004) (“Even if attorney’s fees are authorized by contract, as in this case,

and even if the fees are reasonable, debt collectors must still clearly and fairly

communicate information about the amount of debt to debtors.”)

      Accordingly, by including the garnishment fees in the outstanding balance


                                          6
     CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 7 of 8




of the judgment in its January 21, 2014 letter to Plaintiff without explanation, the

Court finds that under the unsophisticated consumer standard, Defendant falsely

represented the actual amount of the outstanding judgment.   

      B.     Violation of Section 1692e(9)

      Plaintiff further argues that Defendant violated the FDCPA by including

the garnishment fees in the outstanding judgment balance, because it created a

“false impression as to its source, authorization, or approval.”  15 U.S.C. §

1692e(9).  As Magistrate Judge Noel reasoned in his Report and

Recommendation, “it is plausible that merely by stating that a judgment balance

is outstanding, an unsophisticated consumer could assume that a court has

approved of the quoted amount because the word ‘judgment’ denotes an entry

by a court.”  (Doc. No. 20 at 8.)  To an unsophisticated consumer, Defendant’s

January 21, 2014 letter, which increased the judgment balance without any legal

authorization to do so, falsely represented the amount of judgment as including

garnishment fees and therefore its authority to add to the judgment balance

without court involvement.

      IT IS HEREBY ORDERED that:

      1.     Plaintiff’s Motion for Summary Judgment [Doc. No. 29] is


                                          7
     CASE 0:14-cv-01424-MJD-FLN Document 41 Filed 06/25/15 Page 8 of 8




             GRANTED;

      2.     Defendant’s Motion for Summary Judgment [Doc. No. 21] is

             DENIED; and

      3.     Defendant shall pay Plaintiff actual damages, court costs and

             reasonable attorney’s fees.  Within thirty days from the date of this

             Order, Plaintiff shall submit a detailed accounting of the attorney’s

             fees incurred.  Defendant shall file any objection fourteen days from

             the date of Plaintiff’s submission.

      LET JUDGMENT BE ENTERED ACCORDINGLY

Date:   June 24, 2015

                                       s/ Michael J. Davis                                             
                                       Michael J. Davis
                                       Chief Judge
                                       United States District Court




                                          8
